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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:07CR3148
                                                 )
MICHAEL B. YODER,                                )
                                                 )
                            Defendant.           )

                                           ORDER

        THIS MATTER comes before the Court on defendant's Request to File Motion Under

Seal, filing 19. The Court, being fully advised in the premises, finds that said Motion should

be granted.

        IT IS THEREFORE ORDERED that, pursuant to NECrimR 12.4, the Clerk shall file

defendant’s Motion to Review Detention and Order under seal.

        DATED this 7th day of December, 2007.

                                           BY THE COURT

                                           s/David L. Piester
                                           David L. Piester
                                           United States Magistrate Judge
